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            4   Attorney for Defendant
                GARETH HYLLA
            5

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            7                IN THE UNITED STATES DISTRICT COURT FOR THE

            8                        EASTERN DISTRICT OF CALIFORNIA

            9

           10   UNITED STATES OF AMERICA           |
                                                   |
           11              Plaintiff,              |     Case No. 09-0349 OWW
                vs.                                |
           12                                      |     STIPULATION AND
                GARETH HYLLA                       |     ORDER TO CONTINUE
           13                                      |
                      Defendant.                   |
           14                                      |

           15         Defendant GARETH HYLLA by and through his attorney James R.

           16   Homola, and the united States of America, by and through its

           17   attorney, KEVIN A ROONEY, Assistant U.S. Attorney, hereby

           18   stipulate to the following joint request:

           19         That the sentencing hearing scheduled for April 26, 2010 be

           20   continued to June 14, 2010 at 9:00 am.         The continuance is

           21   requested to permit the parties to complete preparations for


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                sentencing.

            1   DATED: April 20, 2010

            2         /s/ James R. Homola                /S/ Kevin A. Rooney
                      JAMES R. HOMOLA                    KEVIN A. ROONEY
            3         Attorney for Defendant             Assistant U.S. Attorney
                      GARETH HYLLA
            4

            5

            6                                      ORDER

            7   IT IS SO ORDERED.       The intervening period of delay is excused in

            8   the interests of justice, pursuant to 18 USC §3161(h)(8)(B)(iv).

            9   Dated:

           10
                IT IS SO ORDERED.
           11
                Dated: April 20, 2010                  /s/ Oliver W. Wanger
           12   emm0d6                            UNITED STATES DISTRICT JUDGE

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